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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JPMORGAN CHASE BANK, N.A.,

                       Plaintiff,

         - against -
                                           Case No. ______
VTB BANK, P.J.S.C.,

                       Defendant.


             MEMORANDUM OF LAW IN SUPPORT OF
           PLAINTIFF JPMORGAN CHASE BANK, N.A.’S
  MOTION FOR AN EX PARTE TEMPORARY RESTRAINING ORDER AND
              PRELIMINARY ANTI-SUIT INJUNCTION
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       Plaintiff JPMorgan Chase Bank, N.A. (“JPMorgan”) submits this memorandum in

support of its motion by order to show cause (the “Motion”) for an ex parte temporary

restraining order immediately enjoining Defendant VTB Bank, P.J.S.C. (“VTB”), a Russian bank

majority owned by the Government of Russia and sanctioned by the U.S. Government, 1 to

discontinue its lawsuit against JPMorgan in Russia, in blatant violation of the parties’ forum

selection clause, until this Motion can be adjudicated, and for a preliminary injunction extending

that relief during the pendency of this action.

                                PRELIMINARY STATEMENT

       By letters dated February 27, 2024, and March 15, 2024, VTB demanded that JPMorgan

and several of its affiliates (together with JPMorgan, the “JPMorgan Entities”) return over $439

million from a sanctioned correspondent bank account held by JPMorgan’s New York branch

(the “Correspondent Account”). Such demand letters are a prerequisite to commencing litigation

in Russia. Earlier this week, on April 17, 2024, VTB initiated an action in the Arbitrazh court of

the city of Saint-Petersburg and Leningrad region (the “Russian Action”) against the JPMorgan

Entities and moved for interim measures. While the papers initiating the action are not yet

available to any of the JPMorgan Entities, upon information and belief, the Russian Action

follows through on the pre-litigation demand letters attempting to hold the JPMorgan Entities

liable for the failure to transfer the $439 million from the Correspondent Action and the interim

measures relate to the seizure of assets with respect to the Correspondent Account. 2




       1
           VTB waived its sovereign immunity in the parties’ agreement. See infra Section A.
       2
         The JPMorgan Entities are attempting to obtain the filings in the Russian Action and
will update the Court when they have done so, but, for the reasons discussed herein, JPMorgan’s
need for relief is immediate and cannot be delayed.
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       JPMorgan is the only JPMorgan Entity holding the Correspondent Account, but is

prohibited by federal law from releasing those assets to VTB—or to any other person—because

they are blocked under broad economic sanctions imposed by the United States in response to

Russia’s invasion of Ukraine. The other JPMorgan Entities have no responsibility for the

Correspondent Account and have been improperly joined in the Russian Action only so VTB can

target their assets to satisfy any judgment. The Russian Action is (i) in direct contravention of

the contract between JPMorgan and VTB governing the Correspondent Account, and (ii) would

serve to irreparably harm JPMorgan for complying with the aforementioned U.S. sanctions

program. By this motion, JPMorgan seeks a temporary restraining order (“TRO”) and

preliminary injunction enforcing the forum selection clause in the parties’ agreement, which

grants to New York state and federal courts exclusive jurisdiction over all claims by VTB

concerning the Correspondent Account.

       The origin of this dispute dates back to February 24, 2022, when VTB was added to the

U.S. Department of Treasury’s Office of Foreign Assets Control’s (“OFAC”) Specially

Designated Nationals and Blocked Persons List, and its property and interests in property

became blocked. As required by those sanctions, JPMorgan immediately transferred the balance

of approximately $439 million in the Correspondent Account to a segregated, interest-bearing

domestic blocked account. Now, more than two years after the Correspondent Account was

blocked, VTB has filed the Russian Action against JPMorgan related to the Correspondent

Account. See Kroll Decl. Exs. B-G; see also Cagney Decl. Exs. A-F. Other Russian financial

institutions have filed actions in Russia against other Western banks holding funds blocked by

U.S. sanctions. VTB’s intentions are apparent. It will use that Russian Action to collect $439

million from the JPMorgan Entities’ assets in Russia and abroad. Doing so both directly




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contravenes the parties’ agreement with respect to the Correspondent Account, and punishes

JPMorgan for its compliance with U.S. sanctions law. Because the $439 million is blocked

under U.S. law, JPMorgan is prohibited, while the property remains blocked, from drawing on

VTB’s blocked assets to make itself whole. To JPMorgan’s knowledge, OFAC has, to date, not

authorized JPMorgan or any similarly situated financial institution to recoup such losses from

Russian entities’ blocked property, even though Russian judgments have already been entered

against certain Western banks. See Kroll Decl. Exs. B-G; see also Cagney Decl. Exs. A-F.

Thus, JPMorgan is immediately facing a certain Russian judgment exposing its assets to seizure,

without timely or assured recourse, simply because it is abiding, as it must, with U.S. law. What

is more, VTB is imposing all this irreparable harm on JPMorgan in direct and blatant breach of

the parties’ agreement to litigate any disputes related to the Correspondent Account in New

York, which, in and of itself, imposes a well-established irreparable harm on JPMorgan.

       JPMorgan accordingly brings this action to enjoin VTB from continuing the Russian

Action with respect to any claims arising from or connected to the Correspondent Account. The

requirements for an anti-suit injunction are easily satisfied here. First, JPMorgan is likely to

succeed in proving that the Russian Action is a breach of the parties’ forum selection clause.

Second, an anti-suit injunction is the proper remedy because this case involves the same parties

in interest and will be dispositive of VTB’s Russian Action. Permitting VTB to maintain its

Russian Action in parallel would threaten this Court’s exclusive jurisdiction and the strong U.S.

policies supporting enforcement of forum selection clauses and against punishing entities like

JPMorgan for complying with U.S. sanctions laws. Third, JPMorgan will suffer certain and

irreparable harm without an anti-suit injunction. It is well-settled law that forcing JPMorgan to

litigate in a forum other than the “exclusive jurisdiction” to which the parties agreed, on its own,




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amounts to irreparable harm. But in this case, that harm is especially egregious. Indeed, Russian

courts have granted other Russian banks relief against Western banks where those Western

banks, like JPMorgan, were required to comply with sanctions laws. Allowing the Russian

Action to proceed will result in an unfair judgment enabling VTB to reclaim its blocked property

from the JPMorgan Entities’ own assets, while saddling JPMorgan with a $439 million loss that

it cannot recover from VTB’s blocked assets without authorization from OFAC.

       Finally, the irreparable harm is immediate and warrants an ex parte TRO effective as

soon as VTB has actual notice of it. Once VTB learns of JPMorgan’s action, it would have

grounds to seek, if it is not attempting to do so already, its own anti-suit injunction from a

Russian court, and could do so on an ex parte basis before this Court can even consider this

Motion and grant a preliminary injunction. This Court therefore should act first by issuing a

TRO and preventing VTB from forcing JPMorgan to choose between forfeiting the parties’

agreed-upon forum or violating a Russian anti-suit injunction simply by continuing this action.

The Court should not require JPMorgan to post any security because VTB will not be harmed by

complying with its obligations under the contract.

                                         BACKGROUND

       The facts relevant to this motion are set forth in the moving declaration of Craig T.

Cagney, dated April 18, 2024, and the supporting declarations of Konstantin Kroll, dated April

17, 2024; Denice Richarts, dated April 5, 2024; and Donna Mainetti, dated April 8, 2024.

       A.      VTB Opens the Correspondent Account and Agrees to the Account Terms

       JPMorgan, a national banking association formed under the laws of the United States,

provides correspondent banking services to foreign financial institutions, which enables them to

access the U.S. financial system and engage in U.S. dollar transactions. In 2008, VTB opened

the Correspondent Account at JPMorgan’s New York branch by signing and accepting an


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Account Terms Acceptance Letter, which “represent[ed] [VTB’s] receipt and acceptance of the

Account Terms, and any service terms applicable to any services that [VTB] may use, as they

may be amended or supplemented.” Mainetti Decl. Ex. A

       According to OFAC’s website, VTB is the second-largest financial institution in Russia,

holding nearly 20% of banking assets in Russia. See U.S. Treasury Announces Unprecedented &

Expansive Sanctions Against Russia, Imposing Swift and Severe Economic Costs, U.S. DEP’T OF

THE TREASURY, OFFICE OF FOREIGN ASSETS CONTROL (Feb. 24, 2022),

https://home.treasury.gov/news/press-releases/jy0608?ref=nextgenwar.info. VTB is majority-

owned by the Government of Russia, id., but waived its sovereign immunity by agreeing to the

Account Terms. 3 Specifically, Section 17.7 of the Account Terms provides:

               To the extent that the Customer has or hereafter may acquire any
               immunity (including sovereign, crown or similar immunity) from
               jurisdiction of any court, suit or legal process (whether from
               service of notice, injunction, attachment, execution or enforcement
               of any judgment or otherwise), the Customer irrevocably waives
               and agrees not to claim such immunity as against the Bank or its
               affiliates.

Mainetti Decl. Ex. C § 17.7. 4

       B.      The Account Terms Permit JPMorgan to Block the Correspondent Account

       By accepting the Account Terms, VTB acknowledged and agreed that JPMorgan could

block the Correspondent Account and refuse payment if required to comply with U.S. sanctions

laws. For example, Section 16.1 states that “[t]he Account Terms, the relevant Account



       3
         Unless otherwise specified, all references to the Account Terms are to the last effective
version, amended in 2015. See Mainetti Decl. Ex. C. For purposes of this motion, there is no
material difference between the Account Terms in effect in 2008 and the version in effect in
2022.
       4
       The Account Terms in effect in 2008 contained almost identical language waiving
VTB’s sovereign immunity. See Mainetti Decl. Ex. B § 17.7.


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Documentation and the rights and obligations of the Customer and the Bank in respect of each

Account shall be governed by and construed in accordance with the laws of the country in which

the branch holding the relevant Account is located.” Mainetti Decl. Ex. A § 16.1. Section 15.3

provides that any amounts credited to the Correspondent Account are payable exclusively in

New York, and JPMorgan may withhold payment if necessary to comply with the applicable

laws in New York. Id. § 15.3. Section 17.5 also permits JPMorgan to freeze funds to comply

with U.S. sanctions laws, and provides that JPMorgan is not obligated to comply with any

payment order that would violate those sanctions. Id. § 17.5.

        As relevant on this Motion, VTB also agreed that any dispute that it may have with

JPMorgan concerning the Correspondent Account must be brought in New York where the

Correspondent Account is held. Specifically, Section 16.3 states:

                In relation to each Account, the courts of the country or state in
                which the branch of the Bank at which the Account is held shall
                have the exclusive jurisdiction to settle any disputes that arise out
                of or are connected with the Account Terms, the relevant Account
                Documentation and/or the Account and the Customer agrees to
                submit to the jurisdiction of such courts.

Id. § 16.3. 5

        C.      VTB Is Sanctioned and the Correspondent Account Is Blocked

        On February 24, 2022, in response to Russia’s invasion of Ukraine, OFAC designated

VTB, among others, as a specially designated national under Executive Order (“E.O.”) 14024

and the Russian Harmful Foreign Activities Sanctions Regulations, 31 C.F.R. Part 587.

        President Biden had signed E.O. 14024 on April 15, 2021, pursuant to authority granted

by the International Emergency Economic Powers Act, 50 U.S.C. § 1701 et seq., to impose


        5
        The Account Terms in effect in 2008 contained almost identical language. See Mainetti
Decl. Ex. B § 16.3.


                                                  6
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sanctions on Russia for various harmful foreign activities, including violating the territory of

sovereign states. Exec. Order No. 14024, 31 C.F.R. Part 587 (2021). The implementing

regulations for E.O. 14024 are codified as the Russian Harmful Foreign Activities Sanctions

Regulations, 31 C.F.R. Part 587, which are promulgated and administered by OFAC.

       Like all U.S. banks, JPMorgan is obligated to comply with E.O. 14024 because it is a

“United States Person.” Section 6(e) of E.O. 14024 defines “United States persons” as “any

United States citizen, lawful permanent resident, entity organized under the laws of the United

States or any jurisdiction within the United States (including foreign branches), or any person in

the United States.” Id. § 6(e). Under Section 2 of E.O. 14024, “United States persons” are

prohibited from “(a) the making of any contribution or provision of funds, goods, or services by,

to, or for the benefit of any person whose property and interests in property are blocked pursuant

to this order; and (b) the receipt of any contribution or provision of funds, goods, or services

from any such person.” Id. § 2.

       OFAC’s designation of VTB blocked, by operation of law, all of VTB’s assets in the

United States and in the possession of U.S. Persons like JPMorgan, including the

$439,468,033.12 balance of VTB’s Correspondent Account. Section 1 of E.O. 14024 states that

“[a]ll” of VTB’s “property and interests in property that are in the United States, that hereafter

come within the United States, or that are or hereafter come within the possession or control of

any United States person . . . are blocked and may not be transferred, paid, exported, withdrawn,

or otherwise dealt in.” The assets in the Correspondent Account remain blocked to this day, and

JPMorgan has no authority to unblock them or transfer them absent a specific license from

OFAC authorizing it to do so.




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       D.      VTB Breaches the Account Terms by Demanding Return of the Blocked
               Correspondent Account and Filing an Untimely Suit in Russia

       More than two years after JPMorgan blocked VTB’s Correspondent Account, VTB sent

letters to JPMorgan, dated February 27, 2024 and March 15, 2024, demanding that JPMorgan, its

parent JPMorgan Chase & Co. and its affiliates J.P. Morgan Capital Holdings Limited, J.P.

Morgan Limited, CB “J.P. Morgan International” LLC, J.P. Morgan Chase Bank, N.A. London

Branch and J.P. Morgan International Finance Limited (collectively, the “JPM Affiliates”),

transfer the full U.S. dollar balance of the Correspondent Account to VTB in Russian rubles. See

Richarts Decl. Exs. B, C. The demand letters are a prerequisite to filing suit in Russia, and the

March 2024 demand letter expressly threatened to commence suit in Russia if JPMorgan did not

transfer the blocked property. See Kroll Decl ¶ 8.; see also Richarts Decl. Ex. C. JPMorgan is

prohibited by the U.S. sanctions laws outlined above from honoring VTB’s demand. See

generally Exec. Order. 14024, 31 C.F.R. Part 587 at § 1. Moreover, none of the JPM Affiliates

has any responsibility or liability for VTB’s demand.

       Nonetheless, VTB has now commenced an action in the Arbitrazh court of the city of

Saint-Petersburg and Leningrad region against JPMorgan and the JPM Affiliates as previewed in

VTB’s demand letters demanding return of the balance of the Correspondent Account. See

Cagney Decl ¶ 3. VTB’s Russian Action is consistent with steps already taken by other Russian

financial institutions, and endorsed by Russian courts, to obtain Russian judgments against both

Western banks and their affiliates in circumstances, like this, where applicable sanctions prohibit

the transfer of the funds. See Kroll Decl. Exs. B-G; see also Cagney Decl. Exs. A-F. But neither

JPMorgan nor these other Western banks can use the Russian parties’ blocked property to make

themselves whole, because “[a] setoff against blocked property (including a blocked account),

whether by a U.S. financial institution or other U.S. person, is a prohibited transfer” under the



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U.S. sanctions laws. 31 C.F.R. § 587.405. To JPMorgan’s knowledge, OFAC has not yet

authorized JPMorgan or any similarly situated Western banks to set off their losses, and

historically OFAC has a “policy to license the release of blocked property only in limited

circumstances, most of which do not involve commercial activity.” OKKO Bus. PE v. Lew, 133

F. Supp. 3d 17, 22 (D.D.C. 2015) (quoting from OFAC’s denial of a license application). There

can be no certainty that OFAC will ever authorize JPMorgan to draw on any portion of VTB’s

blocked assets while the sanctions remain in place. See, e.g., Zarmach Oil Servs., Inc. v. U.S.

Dep't of the Treasury, 750 F. Supp. 2d 150, 157 (D.D.C. 2010) (“If companies knew they could

recover blocked assets simply by re-paying the sanctions target by other means, OFAC’s

blocking authority would be severely diminished, thereby reducing the President's leverage in

dealing with sanctions targets.”).

       Some Western banks, however, have succeeded in obtaining anti-suit injunctions from

U.K. courts, 6 which have deterred other Russian parties from continuing their Russian litigation.

See Cagney Decl. Exs. L-P.

       Upon learning of VTB’s Russian Action, JPMorgan filed this action and brought this

Motion for a TRO and preliminary injunction requiring VTB to discontinue its Russian Action.




       6
          See, e.g., John Rogerson et al., Ask, and You Shall Receive—English Court of Appeal
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Foreign-Seated Arbitration, LATHAM & WATKINS (Jan. 30, 2024);
https://www.lw.com/en/news/2024/01/unicredit-wins-appeal-on-anti-suit-injunction-in-support-
of-foreign-seated-arbitration; Anti-Suit Injunctions: English Court Rules on Withdrawal of
Russian Proceedings in Favour of Foreign-Seated Arbitration, FARRER & CO. (Mar. 3, 2024),
https://www.farrer.co.uk/news-and-insights/anti-suit-injunctions-english-court-rules-on-
withdrawal-of-russian-proceedings-in-favour-of-foreign-seated-arbitration/.


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                                       LEGAL STANDARD

       “It is well established that in this Circuit the standard for an entry of a TRO is the same as

for a preliminary injunction.” Andino v. Fischer, 555 F. Supp. 2d 418, 419 (S.D.N.Y. 2008).

Both require a showing of “(a) irreparable harm and (b) either (1) likelihood of success on the

merits or (2) sufficiently serious questions going to the merits claim to make them a fair ground

for litigation and a balance of hardships tipping decidedly toward the party requesting the

preliminary relief.” Goldman, Sachs & Co. v. Golden Empire Schs. Fin. Auth., 922 F. Supp. 2d

435, 439 (S.D.N.Y. 2013) (citing Citigroup Glob. Mkts., Inc. v. VCG Special Opportunities

Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010)).

       “It is beyond question that a federal court may enjoin a party before it from pursuing

litigation in a foreign forum.” Paramedics Electromedicina Comercial, Ltda. v. GE Med. Sys.

Info. Techs., Inc., 369 F.3d 645, 651 (2d Cir. 2004). A court may require a defendant to halt

foreign litigation if (1) “the parties are the same in both matters”; (2) “resolution of the case

before the enjoining court is dispositive of the action to be enjoined”; and (3) “the foreign action

threatens the jurisdiction or the strong public policies of the enjoining forum.” Id. at 652 (citing

China Trade & Dev. Corp. v. M.V. Choong Yong, 837 F.2d 33, 35 (2d Cir. 1987)). It is well-

established that the strong U.S. public policies in favor of enforcing forum selection clauses

justify an anti-suit injunction. Farrell Lines Inc. v. Columbus Cello-Poly Corp., 32 F. Supp. 2d

118, 130 (S.D.N.Y. 1997), aff’d sub nom. Farrell Lines Inc. v. Ceres Terminals Inc., 161 F.3d

115 (2d Cir. 1998) (per curiam); Int’l Fashion Prods., B.V. v. Calvin Klein, Inc., 1995 WL

92321, at *2 (S.D.N.Y. Mar. 7, 1995); accord Applied Med. Distrib. Corp. v. Surgical Co. BV,

587 F.3d 909, 918–19 (9th Cir. 2009); Beijing Fito Med. Co. v. Wright Med. Tech., Inc., 763 F.

App’x 388, 399–400 (6th Cir. 2019). In addition, an injunction is appropriate when foreign

litigation could result in a judgment inconsistent with “a statute of the forum that effectuates


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important public policies.” China Trade, 837 F.2d at 37. “Federal Rule of Civil Procedure 65(b)

gives district courts the power to grant temporary restraining orders with or without notice to the

adverse party.” Local Moms Network, LLC v. Lamont, 2024 WL 757035, at *2 (D. Conn. Feb.

23, 2024). A TRO requires “a threat of irreparable harm that will occur immediately to justify a

temporary restraining order, while the temporal context of a preliminary injunction takes a longer

view.” Omnistone Corp. v. Cuomo, 485 F. Supp. 3d 365, 367 (E.D.N.Y. 2020).

                                          ARGUMENT

       This case is a paradigmatic example of a case warranting an anti-suit injunction. When

VTB reached out to the United States to open a U.S. dollar correspondent account with a U.S.

bank at its New York branch, VTB agreed that the account would be governed by U.S. law and

any dispute relating to the account would be adjudicated in New York courts. VTB’s Russian

Action is a flagrant breach of the parties’ forum selection clause. This Court should enjoin VTB

from continuing the Russian Action with respect to any claims related to the Correspondent

Account to end the threats to this Court’s “exclusive jurisdiction” and the irreparable harm that

the Russian Action is causing JPMorgan. VTB is not only denying JPMorgan the benefit of its

contractually agreed “exclusive” forum, but exposing JPMorgan to a $439 million Russian

judgment.

       The Court should grant a TRO on an ex parte basis because VTB may seek its own anti-

suit injunction from a Russian court once it learns of JPMorgan’s action and Motion. This Court

should preempt such subterfuge to protect its own jurisdiction to consider JPMorgan’s Motion,

and prevent VTB from burdening, if not eliminating, JPMorgan’s right to access this forum.




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           A.   JPMorgan Is Likely to Succeed in Proving a Breach of the Forum Selection
                Clause

       The Court should issue a TRO and preliminary injunction because VTB indisputably

breached the parties’ forum selection clause by filing suit in Russia. “To satisfy the merits prong

of the preliminary injunction test, . . . a plaintiff seeking to enforce a restrictive covenant need

only show a likelihood of success on the merits of its claims that the covenants are enforceable

and that the defendant breached them.” Willis v. Herriott, 550 F. Supp. 3d 68, 104 (S.D.N.Y.

2021) (finding likelihood of success where defendant filed a claim in another forum in breach of

the parties’ forum selection clause); see also Int’l Fashion Prods., 1995 WL 92321, at *2

(finding “probability of success on the merits of its claim that this action should be prosecuted

here rather than in the Netherlands” because the “forum selection clause in the agreement

underlying this action clearly specifies New York as the only appropriate forum”). JPMorgan is

likely to succeed because the Account Terms contain a valid and enforceable forum selection

clause requiring VTB to file suit exclusively in New York—not Russia.

       VTB agreed to be bound by the Account Terms, as amended from time to time, when it

signed the Account Terms Acceptance Letter on May 9, 2008, creating a binding contract

between VTB and JPMorgan. See Mainetti Decl. ¶ 3, Exs. A, B. The Account Terms in effect

both at the time that VTB signed the Account Terms Acceptance Letter in 2008, and the Terms

in effect when the Correspondent Account was blocked in 2022, each contained essentially the

same 7 forum selection clause in Section 16.3:



       7
          The Account Terms in effect when VTB signed the Account Terms Acceptance Letter
similarly provided: “In relation to each Account, the courts of the country or state in which the
branch of the Bank at which the relevant Account is held shall have exclusive jurisdiction to
settle any disputes that arise out of or are connected with the Account Terms, the relevant
Account Documentation and/or the relevant Account.” Mainetti Decl. Ex. B § 16.3.


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               In relation to each Account, the courts of the country or state in
               which the branch of the Bank at which the Account is held shall
               have exclusive jurisdiction to settle any disputes that arise out of or
               are connected with the Account Terms, the relevant Account
               Documentation and/or the relevant Account and the Customer
               agrees to submit to the jurisdiction of such courts.

Mainetti Decl. Ex. C § 16.3. The “forum selection clause is presumed to be valid and the [party]

‘who brought suit in a forum other than the one designated by the forum selection clause’ must

‘make a strong showing in order to overcome the presumption of enforceability.’” 8 Carematrix

of Mass., Inc. v. Kaplan, 385 F. Supp. 2d 195, 197 (S.D.N.Y. 2005) (quoting New Moon

Shipping Co., Ltd. v. MAN B & W Diesel AG, 121 F.3d 24, 29 (2d Cir. 1997)); see also Sherrod

v. Mount Sinai St. Luke’s, 168 N.Y.S.3d 95, 99 (2d Dept. 2022) (“a forum selection clause

contained in a contract is prima facie valid and enforceable . . . with respect to the parties to that

contract.”); Jerez v. JD Closeouts, LLC, 943 N.Y.S.2d 392, 398 (Dist. Ct. 2012) (“this court

reiterates that forum selection clauses are prima facie valid when a party can show that the clause

was incorporated into the parties’ contract.”).

       VTB breached that provision by filing the Russian Action to seek return of the

Correspondent Account balance, as previewed in VTB’s demand letters. The Account Terms are

“governed by and construed in accordance with the laws of the country in which the branch


       8
           JPMorgan terminated all its agreements with VTB effective August 15, 2022, following
the imposition of the OFAC sanctions, but the Account Terms provide that “such closing or
termination shall not affect the Customer’s liabilities to the Bank arising prior to, or on, such
closing or termination, all of which shall continue in full force and effect.” Mainetti Decl. Ex. C
§ 14. Courts routinely enforce forum selection clauses after termination of the underlying
contract when the “gist” of the dispute arises under the contract. See George V Eatertainment
S.A. v. Elmwood Ventures LLC, 2023 WL 2403618, at *8 (S.D.N.Y. Mar. 8, 2023) (“Courts in
the Second Circuit routinely enforce forum-selection clauses after the termination of an
agreement, even where the agreement—like here—does not contain a general, standalone
survival clause.”); AGR Fin., L.L.C. v. Ready Staffing, Inc., 99 F. Supp. 2d 399, 401 (S.D.N.Y.
2000) (stating that “[e]ven if the Agreement was terminated, its forum selection clause would
still be effective” because the “gist” of the plaintiff’s claim involved the parties’ agreement.).


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holding the relevant Account is located,” Mainetti Decl. Ex. C § 16.1, which is and always has

been JPMorgan’s New York branch. 9 See id. ¶ 4. Under New York law, the “fundamental,

neutral precept of contract interpretation . . . that agreements are construed in accord with the

parties’ intent,” and “[t]he best evidence of what parties to a written agreement intend is what

they say in their writing.” Greenfield v. Philles Records, 98 N.Y.2d 562, 569 (2000). Here, the

forum selection clause makes “the courts of the country or state in which the branch of the Bank

at which the Account is held” the “exclusive jurisdiction” for “any disputes that arise out of or

are connected with the Account Terms, the relevant Account Documentation and/or the relevant

Account.” Id. § 16.3 (emphasis added). VTB’s Correspondent Account was always held at

JPMorgan’s New York branch, and therefore New York federal and state courts were the venue

chosen by the parties as the “exclusive jurisdiction” for any disputes “arising out of” or

“connected with” that account. That broad language easily includes VTB’s claims in the Russian

Action related to the balance of the Correspondent Account. Accordingly, VTB was required to

file that action in New York courts, and it breached the contract by filing in Russia instead.




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         Although the Account Terms only specify “the laws of the country,” but not which
state, New York law should apply as the law of the jurisdiction “in which the branch holding the
relevant Account is located.” Mainetti Decl. Ex. C § 16.1. New York law also applies under
New York’s “‘center of gravity’ approach to choice-of-law issues” as “the place which has the
most significant contacts with the matter in dispute.” United States v. Moseley, 980 F.3d 9, 23
(2d Cir. 2020).
        The Account Terms in effect when VTB signed the Account Terms Acceptance Letter
provided that U.S. accounts would be governed by Ohio law. See Mainetti Decl. Ex. B § 16.3.
For purposes of this motion, there are no material differences between Ohio and New York law.
See Eagle v. Fred Martin Motor Co., 809 N.E.2d 1161, 1173 (Ohio Ct. App. 2004) (“Generally,
the language of a contract is to be construed in accordance with its plain and ordinary
meaning.”); Kennecorp Mortg. Brokers, Inc. v. Country Club Convalescent Hosp., Inc., 610
N.E.2d 987, 989 (Ohio 1993) (holding that “a forum selection clause contained in a commercial
contract between business entities is valid and enforceable, unless it can be clearly shown that
enforcement of the clause would be unreasonable and unjust”).


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        VTB’s claims seeking to hold the JPM Affiliates liable for the account balance also

breach the forum selection clause. The forum selection clause provides that “[t]his section is for

the benefit of the Bank,” and the “Bank” is defined under the Account Terms as “JPMorgan

Chase Bank, N.A., and any of its affiliates.” Id. at Introduction, § 16.3; see also id. § 17.2 (“The

term Bank shall include any successors of the Bank, including assignees or successors of

JPMorgan Chase Bank, N.A. or its affiliates or any person who has assumed the rights and

obligations of the Bank or its affiliates hereunder or to which the same has been transferred.”).

Accordingly, VTB was required to bring “any disputes” related to the Correspondent Account,

including any against the JPM Affiliates, in New York courts. Its failure to do so is also a breach

of the parties’ contract.

        B.      An Anti-Suit Injunction Is the Appropriate Remedy

        JPMorgan is likely to succeed in obtaining an anti-suit injunction as its remedy for VTB’s

breach. To determine whether to enjoin foreign litigation, the courts in the Second Circuit have

adopted a two-step analysis. As a threshold matter, the parties must be the same in both matters,

and resolution of the case before the enjoining court must be dispositive of the action to be

enjoined. Paramedics Electromedicina Comercial, Ltda, 369 F.3d at 652; China Trade, 837

F.2d at 35. If these two threshold requirements are satisfied, the Court may enjoin the foreign

litigation based on a consideration of several factors: “(1) frustration of a policy in the enjoining

forum; (2) the foreign action would be vexatious; (3) a threat to the issuing court’s in rem or

quasi in rem jurisdiction; (4) the proceedings in the other forum prejudice other equitable

considerations; or (5) adjudication of the same issues in separate actions would result in delay,

inconvenience, expense, inconsistency, or a race to judgment.” China Trade, 837 F.2d at 35.

While some of these factors are always present when there is parallel foreign litigation, the

Second Circuit has held that an anti-suit injunction is justified in two types of cases: “cases in


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which the foreign action threatens the enjoining court’s jurisdiction, and cases in which the

public policies of the enjoining forum are threatened by the foreign action.” Int’l Fashion

Prods., 1995 WL 92321, at *2. These requirements are all satisfied here.

        First, both this action and all claims related to the Correspondent Account in VTB’s

Russian Action concern the same two parties in interest: JPMorgan and VTB. VTB’s

inappropriate joinder of the JPM Affiliates in the Russian Action, in a meritless attempt to hold

them liable for the Correspondent Account held only by JPMorgan, does not change the analysis.

For example, in Paramedics Electromedicina Comercial, Ltda, the Second Circuit rejected a

defendant’s argument that the parties were different, because it had only sued the plaintiff’s

affiliate in the foreign litigation. 369 F.3d at 652. The Second Circuit held that “the parties to

the two actions are . . . sufficiently similar to satisfy the first threshold requirement of China

Trade,” because the “claims against the [affiliate] . . . rest chiefly (if not completely) on its

affiliation with” the plaintiff. Id. The same is true here: VTB has joined the JPM Affiliates only

because they are affiliates that might have assets in Russia, not because they have any actual

responsibility for the Correspondent Account. See also Int’l Equity Invs., Inc. v. Opportunity

Equity Partners Ltd., 441 F. Supp. 2d 552, 562 (S.D.N.Y. 2006) (“Where parties to the two

actions are affiliated or substantially similar, such that their interests are represented by one

another, courts have found the first requirement is met.”); Motorola Credit Corp. v. Uzan, 2003

WL 56998, at *2 (S.D.N.Y. Jan. 7, 2003) (finding sufficient similarity between parties, even

though not all parties to the two actions were identical, because “the real parties in interest are

the same in both matters”); MasterCard Int’l, Inc. v. Argencard S.A., 2002 WL 432379, at *10

(S.D.N.Y. Mar. 20, 2002) (finding “sufficient[] similar[ity]” between parties despite intervention




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in foreign action by one party’s controlling shareholder, which was “not a necessary party to that

action”).

        Second, the resolution of JPMorgan’s action before this Court would be dispositive of the

claims related to the Correspondent Account in the Russian Action, because both concern

JPMorgan’s obligations to return the balance of the Correspondent Account to VTB. In this

action, JPMorgan seeks not only an anti-suit injunction for VTB’s breach of the forum selection

clause, but declaratory judgments enforcing the Account Terms providing that: (i) JPMorgan’s

obligations are governed by U.S. law; (ii) JPMorgan is permitted to block VTB’s account to

comply with OFAC sanctions; (iii) JPMorgan is not obligated to comply with payment

instructions that would violate U.S. laws; and (iv) VTB was obligated to bring any challenge to

the blocking within two years after the challenged action occurred in February 2022. See Compl.

¶ 48.   This action therefore will be dispositive of claims related to the Correspondent Account

in the Russian Action. See A.P. Moller-Maersk A/S v. Ocean Express Miami, 590 F. Supp. 2d

526, 533 (S.D.N.Y. 2008) (finding that the action before the enjoining court was dispositive of

the parallel foreign actions where the parties and the issues being adjudicated were the same);

Int’l Fashion Prods., 1995 WL 92321, at *2 (same).

        Finally, VTB’s Russian Action threatens this Court’s jurisdiction and important U.S.

public policies against punishing entities like JPMorgan for compliance with mandatory U.S.

sanctions law. Most fundamentally, VTB’s Russian Action undermines this Court’s “exclusive

jurisdiction” over that dispute, Mainetti Decl. Ex. § 16.3, and violates the strong U.S. and New

York public policies in favor of enforcing forum selection clauses. Willis, 550 F. Supp. 3d 68 at

98 (concluding “public interest and balance of equities favor” anti-suit injunction because “[a]s a

matter of both federal law and New York law, there is a strong public policy of enforcing forum-




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selection clauses”); Farrell Lines Inc., 32 F. Supp. 2d at 130 (enjoining Italian lawsuit because,

“[w]hether or not defendants are correct about the enforceability of the forum selection clause

under Italian law, it is clear that they seek to evade an important [U.S.] public policy” of

enforcing such clauses), aff’d sub nom. Farrell Lines Inc. v. Ceres Terminals Inc., 161 F.3d 115

(2d Cir. 1998) (per curiam) (affirming “[f]or substantially the same reasons as those stated by the

district court in its thoughtful and well-reasoned Opinion and Order”); Int’l Fashion Prods.,

1995 WL 92321, at *2 (issuing anti-suit injunction against foreign suit that “violates New York’s

public policy . . . of enforcing forum selection agreements”); see also Beijing Fito Med. Co., 763

F. App’x 388, at 400 (listing precedents “recogniz[ing] the important national policy interest in

enforcing forum selection clauses” and affirming anti-suit injunction).

       Forum selection clauses “enhance certainty, allow parties to choose the regulation of their

contract, and enable transaction costs to be reflected accurately in the transaction price.” Applied

Med., 587 F.3d at 918–19 (quoting J. Gallo Winery v. Andina Licores S.A., 446 F.3d 984, 992

(9th Cir. 2006)); see also Magi XXI, Inc. v. Stato della Citta del Vaticano, 714 F.3d 714, 722 (2d

Cir. 2013) (explaining benefits of forum selection clauses and how they “further vital interests of

the justice system”). As the Ninth Circuit explained in reversing a district court’s denial of an

anti-suit injunction, “anti-suit injunctions may be the only viable way to effectuate valid forum

selection clauses,” and “without the availability of anti-suit injunctions, the vitality of forum

selection clauses would be impermissibly and improvidently jeopardized.” Applied Med., 587

F.3d at 919.

       Such is the case here, where VTB seeks to obtain a judgment in Russia that would be

contrary to the parties’ agreement and U.S. law, so that it can indirectly take back its blocked

property by seizing the JPM Entities’ own assets. Without an anti-suit injunction enforcing the




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forum selection clause, VTB’s Russian Action would “eviscerate[] this essential contractual

right” and subject JPMorgan to “unforeseen liability” in a Russian court—a forum to which it

never agreed—and “potential damages unavailable under New York law.” Madden Int’l, Ltd. v.

Lew Footwear Holdings Pty Ltd, 50 Misc.3d 1210(A), at *5 (1st Dep’t 2016).

       While these policies alone are sufficient reason to hold VTB to the forum selection clause

in its agreement, it cannot be ignored that VTB’s Russian Action would also punish JPMorgan

for its compliance with mandatory U.S sanctions law.

       JPMorgan cannot release the assets in question because those assets are blocked by

operation of law under E.O. 14024 and the Russian Harmful Foreign Activities Sanctions

Regulations. E.O. 14024 states that the President authorized sanctions because “specified

harmful foreign activities of the Government of the Russian Federation . . . constitute an unusual

and extraordinary threat to the national security, foreign policy, and economy of the United

States.” In the press release announcing its designation of VTB under E.O. 14024, OFAC

explained that it was blocking VTB’s assets to “send[ ] an unmistakable signal that the United

States is following through on its promise of delivering severe economic costs” against Russia

for its invasion of Ukraine. 10 As a U.S. bank, JPMorgan has no choice but to comply with these

regulations concerning the U.S. dollar account that VTB voluntarily opened at JPMorgan’s New

York branch. By filing suit in Russia, not New York, VTB seeks to punish JPMorgan for

compliance with U.S. law because Russian courts have not been recognizing U.S. sanctions as a

defense to demands for return of blocked property. If VTB succeeds in obtaining a Russian



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          U.S. Treasury Announces Unprecedented & Expansive Sanctions Against Russia,
Imposing Swift and Severe Economic Costs, U.S. DEP’T OF THE TREASURY, OFFICE OF FOREIGN
ASSETS CONTROL (Feb. 24, 2022), https://home.treasury.gov/news/press-
releases/jy0608?ref=nextgenwar.info.


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judgment against JPMorgan and collecting it against the JPMorgan Entities’ assets in Russia, it

will be punishing JPMorgan for its compliance with mandatory U.S. sanctions law. The threat

that VTB’s litigation poses to the U.S. policies against punishing entities like JPMorgan simply

for complying with U.S. sanctions law provides additional reason to enjoin VTB from continuing

its Russian Action. See China Trade, 837 F.2d at 37; Laker Airways, 731 F.2d at 931 n.73.

       C.      JPMorgan Has Suffered and Will Continue to Suffer Irreparable Harm
               Absent Immediate Injunctive Relief

       While JPMorgan is likely to prevail on the ultimate merits of this suit, interim relief is

necessary to stop the irreparable harm caused by VTB’s Russian Action. “[A] showing of

irreparable harm is ‘the single most important prerequisite for the issuance’ of injunctive relief.”

Greater Chautauqua Fed. Credit Union v. Marks, 600 F. Supp. 3d 405, 431 (S.D.N.Y. 2022)

(quoting Faiveley Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110, 118 (2d Cir. 2009)). To

meet that requirement, the movant “must demonstrate that absent a preliminary injunction, they

will suffer an injury that is neither remote nor speculative, but actual and imminent.” Id. (citing

Grand River Enter. Six Nations, Ltd. v. Pryor, 481 F.3d 60, 66 (2d Cir. 2007)). “[T]he alleged

injury must be one incapable of being fully remedied by monetary damages.” Reuters, Ltd. v.

United Press Int’l, Inc., 903 F.2d 904, 907 (2d Cir. 1990).

       In this case, the irreparable harm is JPMorgan’s loss of the “exclusive” contractually-

agreed New York forum for this dispute. New York courts have consistently held that an action

filed in breach of a forum selection clause causes irreparable harm that justifies injunctive relief.

For example, in Willis, a company filed suit against its former employee in New York, the

contractually agreed forum for alleged breaches of his employment agreement, but two days

later, the former employee filed his own action in California. A court in this District granted a




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preliminary injunction barring the defendant from prosecuting the California action without

requiring any further proof of harm:

       New York courts have repeatedly held that a party’s contractual right to resolve disputes
       in its bargained-for forum cannot be vindicated if the party is forced to litigate on two
       fronts with a risk of inconsistent rulings. Put differently, if litigation is permitted to
       proceed in a second forum, the benefit of a forum selection clause is irreparably lost. It
       follows that “dragging” Plaintiffs into litigation in a court other than the court for which
       they bargained constitutes irreparable harm.

550 F. Supp. 3d at 97–98 (citing Sanford L.P. v. Esselte AB, 2015 U.S. Dist. LEXIS 193868, at

*6-8 (S.D.N.Y. Sep. 16, 2015)). Numerous courts in this District have reached the same

conclusion concerning foreign litigation. See Deutsche Mex. Holdings S.a.r.l. v. Accendo Banco,

S.A., 2019 WL 5257995, at *7 (S.D.N.Y. Oct. 17, 2019) (enjoining defendant to withdraw

Mexican litigation because “it is undeniable that dragging Petitioners into litigation in a court

other than the court having exclusive jurisdiction under the Purchase Agreement constitutes

irreparable harm”); Int’l Fashion Prods., 1995 WL 92321, at *2 (defendant “would suffer

irreparable harm by being forced to” litigate in another forum when “the agreement at issue

clearly states that New York is the chosen forum for all disputes”). 11 VTB’s maintenance of the

Russian Action alone, therefore, constitutes irreparable harm meriting injunctive relief.

       Indeed, in the absence of injunctive relief, JPMorgan will be forced to litigate in a forum

to which it did not agree. Moreover, as mentioned, Russian courts have in other cases against

Western banks granted relief against Western banks, notwithstanding that they, like JPMorgan

here, cannot transfer the funds in question. See Kroll Decl. Exs. B-G; see also Cagney Decl.

Exs. A-F. Moreover, Russian courts will ignore the separate legal status of the JPM Affiliates,



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          See also GigSmart, Inc. v. AxleHire, Inc., 226 N.E.3d 1073, 1091 (Ohio Ct. App. 2023)
(finding that action filed in violation of forum selection clause caused irreparable harm and
granting preliminary anti-suit injunction).


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and hold them liable for the blocked Correspondent Account held exclusively by JPMorgan. See

Kroll Decl. ¶ 7; see also Cagney Decl. ¶ 5. VTB will then seize any of the JPMorgan Entities’

assets in Russia that it can to satisfy the judgment in Russia. See Kroll Decl. ¶¶ 7-8. There can

be no assurances that any Russian judgment would be limited to the value of the Correspondent

Account and would not include any other alleged damages. But even if VTB only seizes an

amount equivalent to the blocked funds that JPMorgan holds, JPMorgan is still prohibited under

U.S. sanctions laws from accessing those blocked funds, and OFAC has not authorized

JPMorgan or any similarly situated financial institutions to recoup their losses from such blocked

property. As such, VTB would be depriving JPMorgan of $439 million indefinitely while the

sanctions against VTB remain in place. This Court should prevent VTB from engaging in self-

help in flagrant disregard of its contract with JPMorgan. Indeed, the Second Circuit has

recognized that an anti-suit injunction may be appropriate when a foreign action would disregard

a statute of the forum that effectuates important public policies. China Trade, 837 F.2d at 37;

see also Laker Airways, Ltd. v. Sabena, Belgian World Airlines, 731 F.2d 909, 931 n.73 (D.C.

Cir. 1984) (holding that an anti-suit injunction is more appropriate when foreign action would be

inconsistent with “a statute of specific applicability upon which the party seeking an injunction

may have relied, and which is designed to effectuate important state policies.”). That is precisely

what VTB’s Russian Action would do here.

       D.      JPMorgan Faces Immediate Harm Necessitating an Ex Parte TRO

       Because VTB has already filed suit in Russia, JPMorgan is already suffering irreparable

harm that justifies immediate relief in the form of a TRO pending adjudication of this Motion.

JPMorgan also requires this relief on an ex parte basis because of the risk that VTB may already

be or will shortly seek an injunction from the Russian court preventing JPMorgan from enforcing

its rights under the forum selection clause once it learns of JPMorgan’s lawsuit.


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         Article 248.2 of the Russian Arbitrazh (State Commercial) Procedure Code permits a

Russian party like VTB, which is subject to foreign sanctions, to seek its own anti-suit injunction

from a Russian court if foreign proceedings have been initiated against it, or there is evidence

that they will be initiated. See Kroll Decl. ¶¶ 8-9. This type of anti-suit injunction may be

obtained ex parte, before JPMorgan has an opportunity to assert any objections, including as to

jurisdiction in Russian courts, and any application for such an injunction must be considered by

Russian courts within one day. Id. VTB has sought and obtained this type of anti-suit injunction

against foreign litigation in at least one other case. See Kroll Decl. Ex. H; see also Cagney Decl.

Ex. H.

         Accordingly, there is an immediate risk that, unless VTB is first enjoined by this Court

without notice, VTB could subject JPMorgan to an untenable conflict of laws situation before its

Motion for a preliminary injunction can even be heard. If VTB obtains an anti-suit injunction

from a Russian court first, JPMorgan would be forced to choose between forfeiting its

contractually-agreed forum or violating a Russian court injunction. The Court should not give

VTB the opportunity to put JPMorgan in that position when it has filed suit in a clearly

inappropriate forum, and instead should issue an immediate ex parte TRO, taking effect as soon

as VTB receives or has actual notice of it, 12 that requires VTB to discontinue its breaching

Russian Action until this Motion can be heard. Furthermore, to discourage VTB from trying to

use the Russian courts to tie JPMorgan’s and this Court’s hands, this Court should specify that


         12
           VTB not only agreed in the Account Terms to waive its sovereign immunity, including
“from service of notice, [and] injunction,” Mainetti Decl. Ex. C § 17.7, but also agreed to a
special arrangement for service, within the meaning of FSIA § 1608(b)(1), which will permit
JPMorgan to serve VTB with notice of the complaint, this motion and the TRO promptly after it
is issued. Id. § 13. See Arb. Between Space Sys./Loral, Inc. v. Yuzhnoye Design Off., 164 F.
Supp. 2d 397, 402 (S.D.N.Y. 2001) (finding that a contractual provision governing “all notices”
constituted a special arrangement for the service of process under the FSIA).


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the TRO will automatically convert into a preliminary injunction if VTB fails to appear to

oppose this Motion, and into a permanent injunction if VTB defaults on the complaint.

       E.      The Court Should Not Require Any Security

       Given that JPMorgan simply seeks to enforce the parties’ agreement and require VTB to

bring its dispute in the proper forum, no security should be required for either a TRO or a

preliminary injunction. Federal Rule of Civil Procedure 65(c) only requires security “in an

amount that the court considers proper to pay the costs and damages sustained by any party

found to have been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c) (emphasis added).

The Second Circuit has held that this phrase vests this Court “with wide discretion in the matter

of security and it has been held proper for the court to require no bond where there has been no

proof of likelihood of harm, or where the injunctive order was issued ‘to aid and preserve the

court’s jurisdiction over the subject matter involved.’” Doctor’s Assocs., Inc. v. Stuart, 85 F.3d

975, 985 (2d Cir. 1996) (quoting Ferguson v. Tabah, 288 F.2d 665, 675 (2d Cir. 1961)); accord

loanDepot.com, LLC v. CrossCountry Mortg., LLC, 2023 WL 3884032, at *9 (S.D.N.Y. June 8,

2023) (declining to require security where defendant “has not convincingly established a

likelihood of harm flowing from the issuance of a preliminary injunction”). Such is the case

here: a TRO and preliminary injunction should issue only to protect this Court’s “exclusive

jurisdiction” over this dispute, and VTB will not suffer any harm by discontinuing the breaching

claims in its Russian Action and pursuing any viable claims in this Court instead. 13 For these

reasons, the Court should not require JPMorgan to post any security.




       13
           Even if there were any harm, a bond would not be necessary to secure any recovery
from JPMorgan given its creditworthiness. The U.S. sanctions against VTB may also make it
difficult for JPMorgan to procure a bond for the benefit of VTB.


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                                         CONCLUSION

       For the foregoing reasons, the Court should grant an immediate ex parte TRO, effective

as soon as VTB has actual notice of it, that requires VTB to discontinue all claims related to the

Correspondent Account in the Russian Action until this Motion has been heard. Upon

consideration of this Motion, or if VTB fails to timely appear and oppose the Motion, the Court

should convert the TRO into a preliminary injunction requiring VTB to discontinue all claims

related to the Correspondent Account in the Russian Action pending resolution of this lawsuit.


DATED: New York, New York
       April 18, 2024                         DAVIS POLK & WARDWELL LLP




                                              By:    /s/ Michael S. Flynn
                                                     Michael S. Flynn
                                                     Craig T. Cagney
                                                     450 Lexington Avenue
                                                     New York, New York 10017
                                                     Tel.: (212) 450-4000
                                                     michael.flynn@davispolk.com
                                                     craig.cagney@davispolk.com

                                                     Attorneys for JPMorgan Chase Bank, N.A.




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